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R E C E \ V E D UNITED STATES DISTRICT COURT

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WESTE§‘£‘A$YTTT%'.CEO‘BTS.L,§’HAS'“““ LAFAYETTE DivIsIoN

IBERIABANK CIVIL ACTION NO. 6:14-CV-2448
v. .TUDGE DOHERTY
DARRYL R. BROUS SARD, ET AL. MAGISTRATE JUDGE WHITEHURST

MEMoRANDUM RULING & oRDER
Currently pending before the Court is a motion for reconsideration filed by Darryl

Broussard. [Doc. 145] Pursuant to the motion, Broussard moves this Court “to reconsider its

 

Order limiting Broussard’s counterclaim for attorney’s fees to only those fees incurred by
Broussard during the arbitration proceeding.” [Id. at 1] For the following reasons, the motion is
DENIED.

In support of his position, Mr. Broussard relies upon certain letters exchanged between
counsel in early January 2015, which Mr. Broussard contends amended the scope of the Change
ln Control Severance Agreernent (“CCSA”), thereby allowing for recovery of all of Broussard’s
attorney’s fees incurred in defending this matter, as opposed to only allowing recovery of

Broussard’s attorney’s fees incurred in arbitrationl In the letter exchange, counsel for

 

lAs discussed in the Court’s prior Rulings on this issue, Broussard’s relationship with
IBERIABANK Was governed by two separate contracts: the CCSA Broussard entered into With Teche
prior to the merger, and the Employment Agreement Broussard entered into with IBERIABANK. The
CCSA contains a provision requiring arbitration of disputes arising out of the CCSA and requiring
[BERIABANK to reimburse Broussard for attorneys’ fees incurred in such arbitration. The Employment
Agreement also contains a clause requiring arbitration of disputes arising out of the Employrnent
Agreement, but it does not contain any provision obligating [BERIABANK to reimburse Broussard’s

 

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IBERIABANK wrote to counsel for Broussard and proposed an “Amendment of the
Employment Agreement” under which, in exchange for the parties’ jointly moving to dismiss the
arbitration, they would agree that, in spite of any contrary arbitration clause, they could assert
their claims and defenses against one another in federal court. Counsel for IBERIABANK
concluded his letter by stating if the proposed terms were acceptable, he would “then prepare the
documents envisioned above.” [Doc. 70-2, p. 22] Five days later, counsel for Broussard
responded, “Yes, my client has authorized me to agree. . . . Please set it up and send the
documents.” [Id. at 23] Thereafter, IBERIABANK’s counsel prepared a written “Amendment to
Employment Agreement” [Doc. 61, p. 16], which was executed on January 16, 2015. The
“Amendment to Employment Agreemen ” affected only the Employment Agreement and not the
CCSA. [Id.] The subsequent written amendment, and not the letter exchange, is the operative
obligation between the parties See La. Civ. Code art. 1947 (“When, in the absence of a legal
requirement, the parties have contemplated a certain forrn, it is presumed that they do not intend
to be bound until the contract is executed in that form.”) As the “Amendment to Employment
Agreemen ” in no manner changed the CCSA’s attorney’s fees provision, the Court finds
reconsideration of its prior Ruling to be unwarranted
In light of the foregoing, Broussard’s motion for reconsideration [Doc.145] is DENIED.

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attorney’s fees.

 

